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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR:    JOSEPH F. INIGUEZ
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
JOSEPH F. INIGUEZ                                                              CASE NUMBER:


                                                                                                     2:22-cv-00106
                                                              Plaintiff(s),
                                     v.
OFFICER R. MARTINEZ, etc. et al.
                                                                                              CERTIFICATION AND NOTICE
                                                                                                OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                              Plaintiff Joseph F. Iniguez
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                   CONNECTION / INTEREST
1. JOSEPH F. INIGUEZ                                                          1. Plaintiff

2. OFFICER R. MARTINEZ                                                        2 through 4 are Defendants

3. CITY OF AZUSA

4. DOES 1 to 20




         January 6, 2022                                   /s/ Michael H. Artan
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Joseph F. Iniguez


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
